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                             United States District Court
                                                          for the
                                              Eastern District of Virginia


              United States of America                       )
                         V.                                  )
                                                             )       Case No.    2:16cr55
                SHAKIRMcNEAL                                 )
                   Defendant                                 )


                                ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

        (1)     The defendant must not violate federal, state, or local law while on release.

        (2)     The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. §
                14135a.


        (3)     The defendant must advise the court or the pretrial services office or supervisingofficer in writing before
                making any change of residence or telephone number.

        (4)     The defendant must appear in court as required and, if convicted, must surrender as directed to servea
                sentence that the court may impose.


                The defendant must appear at:      U.S. Courthouse. 600 Granbv Street. Norfolk. VA 23510
                                                                              Place
                on                                February 6.2018 at 11:00 a.m.
                                                            Date and Time




IT IS FURTHER ORDERED that the defendant be released on condition that:


       (5)      The defendant promises to appear in court as required and surrender to serve sentence imposed.

(v^)   (6)      The defendant executes a ($5,000.00) Unsecured Bond binding the defendant to pay to the United States
                forFTA.
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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                                     Page 2 of3

                                                      ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

{   ) (6)       The defendant is placed in the custody of:
                Person or organization
                Address (onlyifabove is an organisation).
                City and state                                                                            Tel. No.
who agreesto (a) supervisethe defendant, (b) use everyeffort to assurethe defendant's appearance at all court proceedings, and (c) notifythe court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                   Signed:
                                                                                              Custodian                                 Date
( V ) (7)   The defendant must:
      ( ) (a) submit to supervision by and report for supervision to the United States Probation OfTice
                telephone number         757-222-7300      , no later than    today
      ( v^) (b) continue or actively seek employment.
      ( ) (c) surrender any passport to:          U.S. Probation Office
      ( ^) (d) not obtain a passport or other internationaltravel document.
       ( ^) (e) abide by the following restrictions on personal association, residence, or travel: restricted to the state of Virginia, unless prior
                      approval received from Probation                                                                                                          .
       (    ) (f) avoidall contact, directly or indirectly, with any person who is or maybe a victim or witness in the investigation or prosecution,
                      including:
       (    ) (g) maintain residence at a halfwayhouse or community corrections center,as the pretrial servicesoffice or supervising officerconsiders
                      necessary.
       ( ^ ) (h) not possess a firearm, destructive device, or other weapon.
             (i) not use alcohol( ) at all ( v' ) excessively.
       ( ^ ) 0) J^ot use or unlawfully possess a narcotic drugor othercontrolled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                      medical practitioner.
            ) (k) submitto testingfor a prohibited substanceif required by the pretrial servicesoffice or supervising officer. Testingmay be used with
                  random frequency andmayinclude urine testing, the wearing of a sweatpatch, a remote alcohol testing system, and/or anyform of
                  prohibited substance screeningor testing. The defendant must not obstruct, attemptto obstruct, or tamperwith the efficiency and accuracy
                      of prohibited substance screening or testing.
       ( ^ ) (1) participate in a program of inpatient or outpatient substance abusetherapy and counseling if directed by the pretrial services officeor
                      supervising officer.
       (    ) (m) participate in one of the following locationrestrictionprograms and comply with its requirementsas directed.
                  (    ) (i) Curfew. You are restricted to your residence every day ( ) from                 to         , or ( ) as
                          directed by the pretrial services office or supervising officer; or
                  ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                  approved in advance by the pretrial services office or supervising officer; or
                  (    ) (iii) Home Incarceration. You are restrictedto 24-hour-a-daylock-downat your residenceexcept for medical necessitiesand court
                  appearances or other activities specifically approved by the court.
       (    ) (n) submitto locationmonitoring as directed by the pretrialservicesofficeor supervising officer and complywith all of the program
                      requirements and instructions provided.
                      (   ) You must pay all or part of the cost of the program based on your abilityto pay as determined by the pretrial services office or
                      supervising officer.
      (^) (0) report as soon as possible, to the pretrialservicesofficeor supervising officer, every contactwith law enforcement personnel, including
              arrests, questioning, or traffic stops.
      (^) (p)        Maintain residence with Suzanne Gordin and not move without permission from Probation.
      (^) (q)        Abidebv the following restrictions on personal association, place of abodeor travel: travel is restricted to EDVAand CentralDistrict
                      of California, with anv travel outside the restricted area to be approved in advance bv the Court or Probation.
      (^) (r)               Provide any financial information requested to Probation.
      (     )   (s)
      (     )   (t)
      (     )   (u)
      (     )   (V)
      (     )   (w)
      (     )   (X)
      (     )   (y)
      (     )   (z)
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AO 199C (Rev. 09/08) Advice of Penalties                                                                                            Page 3 of 3


                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive {i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more-you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of the Defendant

         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                                        Defendant's Signature



                                                                                                            City and Stale



                                              Directions to the United States Marshal

(•/ )   The defendant is ORDERED released after processing.
( )     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
        defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
        produced before the appropriate judge at the time and place specified.
                                                                              Lawrence R. Leonard

Date:
          1 )"7                                                               United States Magistrate Judge
                                                                                                     Judicial Officer's Signature



                                                                                                       Printed name and title




                   DISTRIBUTION:      COURT   DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY      U.S. MARSHAL
